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                   IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

IN RE:                                            )
                                                  )
V.R. KING CONSTRUCTION, LLC                       )
                    DEBTOR                        )      Chapter 7
                                                  )      Case NO.: 18- 31635
                                                  )
                                                  )
In re:                                            )
                                                  )      Chapter 7
VINROY REID                                       )      Case No. 18-31436
                                                  )
                             DEBTOR.              )




                        DESIGNATION OF RECORD ON APPEAL

NOW COMES, Debtors-Appellants, VR King Construction, LLC & Vinroy Reid (hereinafter
"Appellants” or “Debtors") and shows unto this Court its Designation of The Record on Appeal
and states as follows:

       1. That the Debtor-Appellant VR King Construction, LLC filed a Chapter 11 Bankruptcy
proceeding on October 31, 2018 Case No 18-31635. Doc#1

      2. That Debtor-Appellant Vinroy Reid filed a Chapter 13 Bankruptcy Proceeding on
September 21 2018, Case No 18-31436.

        3. That on February 19, 2019, Appellee Y2 Yoga Cotswold, LLC filed Proof of Claim #2
in the amount of $574,963.90. (Claims Register- 2-1)

       4. That on February 20, 2019, Appellee Y2 Yoga Cotswold, LLC filed Amended Proof
of Claim #2 in the amount of $574,963.90. (Claims Register- 2-2)

         5. On March 15, 2019, Appellants filed an Objection to Claim Number 2. Docket #62

       6. That on July 6, 2020, Appellee Y2 Yoga Cotswold, LLC filed Amended Proof
of Claim #2 in the amount of $981,139.00. (Claims Register- 2-3)

       7. On July 8, 2020, 2019, Chapter 7 Trustee A. Burton Shuford filed Objection
to Claims Number 2,3. Docket #254

       8. On July 8, 2020, 2019, Chapter 7 Trustee A. Burton Shuford filed an Amended
Objections to Claims Number 2,3. Docket #255
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       9. That on July 16, 2020, Appellee Y2 Yoga Cotswold, LLC filed Amended Proof
of Claim #2 in the amount of $1,218,901.00. (Claims Register- 2-4)

      10. That on July 20, 2020, Appellants filed an Amended Objection to Claim Number 2.
Docket #257 and corrected entry #258.

       11. On July 20, 2020, Chapter 7 Trustee A. Burton Shuford filed an Amended
Objections to Claims Number 2. Docket #2260

         12. On July 24, 2020, Appellant VR King filed a Motion to Strike Proof of Claim. Docket
#265

     13. On February 16, 202, the Court held a hearing on Appellants’ Objection to Claim
Number 2 & 3.

         14. On February 2, 2021, the Court issued an Order Denying Appellant’s Motion to Strike.

         15. On February 3, 2021, the Court held a second hearing on Appellants’ Objection to
Claim.

       16. On February 3, 2021, the Court filed its Exhibit list for the hearings on February 2,
2021 and 3, 2021. Docket #316

     17. On February 16, 2021, the Court held it final hearing on Appellants’ Objection to Claim
Number 2 & 3.

         18. On July 7, 2021, the Court entered an Order Overruling Objections to Claims. Docket
#330
         19. On July 21, 2021 Appellants filed a Notice of Appeal. Docket # 333

      20. That pursuant to Rule 8006 Appellant is allowed fourteen (14) days to file the
Designation of the Record on Appeal after filing their Notice of Appeal.

            The Record includes the following:

   a. Appellee Y2 Yoga Cotswold, LLC Proof of Claim #2 in the amount of $574,963.90, filed
      on February 19, 2019, (Claims Register- 2-1)

   b. Appellee Y2 Yoga Cotswold, LLC Amended Proof of Claim #2 in the amount of
      $574,963.90, filed on February 20, 2019, (Claims Register- 2-2)

   c. Appellants Objection to Claim Number 2 filed on March 15, 2019. Docket #62

   d. Appellee Y2 Yoga Cotswold, LLC filed Amended Proof of Claim #2 in the amount of
      $981,139.00 filed on July 6, 2020. (Claims Register- 2-3)

   e. Chapter 7 Trustee A. Burton Shuford Objection to Claims Number 2,3 file on July 8, 2020,
      2019. Docket #254
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   f. Chapter 7 Trustee A. Burton Shuford Amended Objections to Claims Number 2,3 file on
      July 8, 2020. Docket #255

   g. Appellee Y2 Yoga Cotswold, LLC Amended Proof of Claim #2 in the amount of
      $1,218,901.00 filed on July 16, 2020. (Claims Register- 2-4)

   h. Appellants’ Amended Objection to Claim Number 2 filed on July 20, 2020.
Docket #257 and corrected entry #258.

   i. Chapter 7 Trustee A. Burton Shuford Amended Objections to Claim Number 2 filed on
      July 20, 2020. Docket #2260


   j. Appellant VR King Construction, LLC’s Motion to Strike Proof of Claim filed on July 24,
      2020. Docket #265

   k. Transcript of hearing on Appellants’ Objection to Claim Number 2 & 3 held on February
      2, 2021.

   l. On February 2, 2021, the Court issued an Order Denying Appellant’s Motion to Strike.

   m. Transcript of second hearing on Appellants’ Objection to Claim held on February 3, 2021,

   n. Court Exhibit list for the hearings on February 2, 2021, February 3, 2021, and February 16,
      2021. Docket #316

      i.      Debtor- Exhibit 1 - Affidavit of Attorney Christopher Campbell;
      ii.     Creditor – Exhibit A - Summary of Objections to Y-2 Proof of Claims;
      iii.    Exhibit - B - Itemization of Y2 Yoga Cotswold, LLC Claim as of 1/29/21;
      iv.     Exhibit – C -Y2 Yoga Cotswold, LLC Statement of Monetary Relief sought;
      v.      Exhibit – D- Transcript of Cross/David Guidry;
      vi.     Exhibit – E - Transcript of Direct/r. Keith Johnson;
      vii.    Exhibit – F - Amended Supplementation Declaration of David Guidry;
      viii.   Exhibit – G – Declaration of James H. Henderson;
      ix.     Exhibit – H - Y2 Yoga Cotswold, LLC Proof of Claim dated 2/19/19;
      x.      Exhibit – I - Y2 Yoga Cotswold, LLC Proof of Claim dated 2/20/19;
      xi.     Exhibit – J - Y2 Yoga Cotswold, LLC Proof of Claim dated 7/6/20;
      xii.    Exhibit – K - Y2 Yoga Cotswold, LLC Proof of Claim dated 7/16/20;
      xiii.   Exhibit – L - Y2 Yoga Cotswold, LLC Balance Sheet as of 8/13/20;
      xiv.    Exhibit – M – Email From Mr. Campbell to Mr. Henderson;
      xv.     Court Docket of Case 18-31436 – Judicial Notice;
      xvi.    Court Docket of Case 18- 31635 – Judicial Notice;
      xvii.   Court Docket of Case 18-3047 – Judicial Notice;


   o. Transcript of Final hearing on Appellants’ Objection to Claim Number 2 & 3 held on
      February 16, 2021.

   p. Order Overruling Objections to Claims entered on July 7, 2021. Docket #330
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   q. Appellants Notice of Appeal filed on July 21, 2021. Docket # 333

      That pursuant to Rule 8006 Appellant is allowed fourteen (14) days to file the
Designation of the Record on Appeal after filing their Notice of Appeal.


       This the 10th day of August, 2021,

                                                   THE LEWIS LAW FIRM, PA.

                                                   /s/Robert Lewis, Jr.
                                                   ROBERT LEWIS, JR.
                                                   Attorney for Debtor
                                                   NC Bar # 35806
                                                   PO BOX 1446
                                                   Raleigh, NC 27602
                                                   Telephone: 919-719-3906
                                                   Facsimile: 919-5739161
                                                   rlewis@thelewislawfirm.com
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                  IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

IN RE:                                               )
                                                     )
V.R. KING CONSTRUCTION, LLC                          )
                    DEBTOR                           )      Chapter 7
                                                     )      Case NO.: 18- 31635
                                                     )
                                                     )
In re:                                               )
                                                     )      Chapter 7
VINROY REID                                          )      Case No. 18-31436
                                                     )
                              DEBTOR.                )



                                  CERTIFICATE OF SERVICE

          I hereby certify that I this day have served a copy of former Counsel for the Debtor's
                             DESIGNATION OF RECORD ON APPEAL

       To all the other parties listed below electronically via CM/ECF, e-mail or by depositing a
copy thereof in an envelope bearing sufficient postage in the United States mail, as indicated
below, this 10th day of August, 2021.

   Shelley K. Abel
   Bankruptcy Administrator (via ECF)
   402 West Trade Street
   Suite 200
   Charlotte, NC 27601
   Tel: 704-3507590
   Fax: 704-344-6666

   James H. Henderson (via ECF)
   1120 Greenwood Cliff
   Charlotte NC 28202-2826
   Tel: 704-333-3444
   Fax: 704-333-5003

   A.Burton Shuford (via ECF)
   4700 Lebanon Road, Suite A-2
   Mint Hill, NC 28227
   Tel: (980) 321-7005
   Fax: (704) 943-1152
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 Vinroy W. Reid (via U.S. Mail)
 P.O. Box 5035
 Charlotte, North Carolina 28229


    This the 18th day of March, 2021,

                                              THE LEWIS LAW FIRM, PA.

                                              /s/Robert Lewis, Jr.
                                              ROBERT LEWIS, JR.
                                              Attorney for Debtor
                                              NC Bar # 35806
                                              PO BOX 1446
                                              Raleigh, NC 27602
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